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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,’ Case No. 08-13141 (KJC)
Jointly Administered
Debtors. Related to Docket No.

ORDER APPROVING MOTION OF COURT-APPOINTED EXAMINER,
KENNETH N. KLEE, ESQ., FOR EXTENSION OF REPORT DEADLINE

Upon consideration of the Motion of Court Appointed Examiner, Kenneth N. Klee, Esq.,
for Extension of Report Deadline (“Motion”) filed by Kenneth N. Klee, as the examiner

appointed in these cases (“Examiner”), and the Motion notice thereof having been served upon

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune
Company (0355); 435 Production Company (8865), 5800 Sunset Productions Inc. (5510), Baltimore Newspaper Networks, Inc.
(8258), California Community News Corporation (5306); Candte Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39,
Inc. (5256); Channel 40, Inc. (3844); Chicago Avenue Construction Company (8634), Chicago River Production Company
(5434); Chicago Tribune Company (3437); Chicago Tribune Newspapers, Inc. (0439), Chicago Tribune Press Service, Inc. (3167);
ChicagoLand Microwave Licensee, Inc. (1579); Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352),
Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121); Distribution Systems of America, Inc. (3811);
Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327), forsalebyowner.com corp. (0219),
ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation ($628); rom Publishing Group, Inc. (2940);
Gold Coast Publications, Inc, (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc. (9808}, Homeowners Realty, Inc.
(1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Internet
Foreclosure Service, Inc. (6550}; JuliusAir Company, LLC (9479); JuliusAir Company IT, LLC; KLAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles
Times International, Ltd. (6079}, Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522), NBBF,
LLC (0893); Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers
Agency, Inc. (7335); North Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056), Oak Brook
Productions, Inc, (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company (4223); Publishers
Forest Products Co. of Washington (4750); Sentinel] Communications News Ventures, Inc. (2027); Shepard’s Inc. (7931); Signs of
Distinction, Inc. (3603), Southem Connecticut Newspapers, Inc, (£455); Star Community Publishing Group, LLC (5612); Stemweb,
Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368); The Hartford Courant
Company (3490), The Moming Call, Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber Company (7088),
Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS I,
Inc. (0719), TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T Music Publishing Company
(2470); Tribune Broadcast Holdings, Inc, (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting Holdeo, LLC (2534);
Tribune Broadcasting News Network, inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties, Inc.
(1629), Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479);
Tribune Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537), Tribune
Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper
Holdings, Inc. (7279); Tribune Media Net, Inc. (7847), Tribune Media Services, Inc. (1080); Tribune Network Holdings Company
(9936), Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720),
Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc, (4055);
Tribune Television Northwest, Inc. (2975); ValuMail, (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587); WATL, LLC (7384); WCWN LLC (5982), WDCW Broadcasting, Inc. (8300); WGN Continental
Broadcasting Company (9530); WLV1 Inc. (8074), WPTX, Inc. (0191); and WTXX Inc. (£268}. The Debtors’ corporate headquarters
and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago, Illinois 60611.

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the Parties” all other parties requesting notice pursuant to Fed. R. Bankr. P. 2002; the Court
finding that such notice is good and sufficient under the circumstances; the Court having
reviewed the Motion and other papers filed in respect thereof; and finding good cause to grant
the Motion, it is ORDERED, ADJUDGED and DECREED:

1. The Motion is GRANTED.

2. The deadline for the Examiner to file his Report is hereby extended from July 12,
2010 to July 27, 2010, without prejudice to the right of the Examiner to seek further extensions
of such deadline.

Dated: Wilmington, Delaware
June _, 2010

Kevin J. Carey
United States Bankruptcy Judge

Capitalized terms not otherwise defined in this order shall have the meaning set forth in the Motion.

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